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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF
                                 ILLINOIS EASTERN DIVISION

   DEMETRIUS JOHNSON                                    )
                                                        )   Case No. 20 CV 4156
                  Plaintiff,                            )
                                                        )   Judge Sara L. Ellis
            v.                                          )
                                                        )   Magistrate Judge Heather K. McShain
   REYNALDO GUEVARA, et al.                             )
                                                        )
                 Defendants.                            )    JURY TRIAL DEMANDED
                                                        )

                 DEFENDANTS’ MOTION TO EXTEND EXPERT DISCOVERY
                   SCHEDULE AND SUMMARY JUDGMENT SCHEDULE

       Defendants, Reynaldo Guevara, Darryl Daley, Geri Lynn Yanow, as special representative

for William Erickson (deceased), Ernest Halvorsen (deceased), John Healy (deceased), and the

City of Chicago, together through their undersigned counsel, respectfully move this Court for an

extension of time to complete expert discovery and to extend the summary judgment schedule. In

support of this motion, Defendants state as follows:

       1.         On March 8, 2023, Plaintiff disclosed three expert witnesses: (1) Thomas

Tiderington, a police procedures expert and Monell expert opining on evidence suppression; (2)

Dr. Jennifer Dysart, an eyewitness identification expert opining on the identification procedures

used in the criminal investigation; and (3) Dr. Nancy Steblay, a Monell expert opining on the rate

at which eyewitnesses made suspect identifications.

       2.         On May 26, 2023, after various scheduling delays and disputes between the Parties,

Defendants filed an unopposed motion to extend the expert discovery schedule (Dkt. 255), which

this Court granted. (Dkt. 258). Pursuant to this Order, Defendants were to complete the

depositions of Plaintiff’s experts by June 30, 2023, Defendants’ expert disclosures were due
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August 11, 2023, and Plaintiff was to complete Defendants’ expert depositions by September 22,

2023. (Dkt. 258). The Court further modified the summary judgment briefing schedule, ordering

Defendants’ motion for summary judgment to be filed by November 3, 2023; Plaintiff’s response

to be filed by December 4, 2023, and Defendants’ Reply to be filed by January 5, 2024. (Dkt.

258).

        3.     The deposition of Dr. Dysart was completed on June 20, 2023.

        4.     Pursuant to an agreement between the Parties, the depositions of Dr. Steblay and

Mr. Tiderington were scheduled for July 12th and 13th respectively. Despite these depositions

being scheduled after June 30, 2023, Defendants were confident that the remainder of the schedule

would not be impacted and would remain in place.

        5.     The deposition of Dr. Steblay took place on July 12, 2023. While Mr. Tiderington’s

deposition was scheduled for July 13, 2023.

        6.     Unfortunately, due to an unexpected death in one of defense counsel’s families, the

deposition of Mr. Tiderington could not go forward on July 13, 2023. The first available date that

was available for all Parties and the witness to reschedule was August 22, 2023. At this time,

defense counsel reached out to Plaintiff’s counsel to discuss an extension of the expert schedule

and subsequent summary judgment schedule. Despite agreeing generally to an extension of time

to complete expert discovery, Plaintiff resisted Defendants’ request to extend the summary

judgment schedule to allow for expert discovery to be fully completed before Defendants were to

file their summary judgment briefs.

        7.     While the parties were negotiating the extension, and before the completion of

expert discovery, Plaintiff’s counsel sent a letter to Defendants regarding summary judgment

arguing that no Defendant had any basis to file summary judgment on any of the claims and




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threatened Rule 11 sanctions against any Defendant that filed summary judgment. See August 8,

2023, Correspondence attached hereto as Exhibit A.

       8.      On August 21, 2023, one day before Mr. Tiderington’s deposition was scheduled

to go forward, Plaintiff cancelled his deposition, without explanation. The next available dates

offered by counsel to complete the last expert deposition were September 19 and 20, 2023. Almost

three months after the initial deadline to complete the depositions, and over a week after

Defendants were to disclose their rebuttal reports.

       9.      On September 6, 2023, Defendants responded to Plaintiff’s correspondence, and,

in the spirit of this Court’s Standing Order on summary judgment practice, initiated discussions

with Plaintiff in an attempt to narrow the scope of summary judgment by requesting Plaintiff drop

certain claims against certain Defendants and conceding that they did not have a viable summary

judgment motion for certain claims and Defendants. See September 6, 2023, Email attached hereto

as Exhibit B. Plaintiff immediately responded by invoking Rule 11 yet again and requesting a

telephone conference. Id. The Parties conferred telephonically on September 12, 2023, but little

progress was made. While Defendants were prepared to and did in fact provide the factual and

legal basis for their motions for summary judgment on specific claims and Defendants, Plaintiff

continued to invoke Rule 11 in response to Defendants’ arguments and failed to provide the factual

and legal basis for Plaintiff’s position. See September 12, 2023 Email attached hereto as Exhibit

C. Despite these threats, Defendants have continued to confer with Plaintiff in good faith, and in

accordance with the Court’s Standing Order related to summary judgment practice.

       10.     Mr. Tiderington’s deposition was completed on September 20, 2023, almost three

months after the initial schedule had required. On September 22, 2023, the Defendants again

sought Plaintiff’s agreement on adjusting the remainder of the expert schedule. See September 22,




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2023 Email Correspondence, attached hereto as Exhibit D. Pursuant to that agreement, Defendants

tendered their expert disclosures on October 13 and October 18, 2023. On October 20, 2023,

Plaintiff requested dates for the depositions of each of Defendants’ experts, and on October 27,

2023, Defendants provided November dates for their experts’ depositions. As of the filing of this

motion, Plaintiff has not responded to or confirmed any of the proposed dates. It is likely that the

depositions of Defendants’ experts will not be completed until the end of November at the earliest

(assuming Plaintiff confirms the dates that have been proposed). Further, Defendants anticipate

that Plaintiff will disclose at least one rebuttal expert report, which, based upon past experience,

will require an additional deposition.

       11.     The Parties are still engaged in conversations regarding the scope of summary

judgment. Since the September 12, 2023, telephone conference, the Parties have exchanged

additional written correspondence on the issue of summary judgment.              Throughout these

negotiations, the Defendants have repeatedly asked Plaintiff’s counsel to comply with this Court’s

meet and confer requirements and provide the factual or legal authority that would defeat

Defendants’ motions. Plaintiff has continuously refused to do so, and instead repeatedly invoked

his intention to file a Rule 11 sanction motion against Defendants. See September 25, 2023, Email

Correspondence, attached here to ax Exhibit E; October 20, 2023 Email correspondence attached

as Exhibit F; October 30, 2023 Correspondence attached as Exhibit G; October 30, 2023, Email

attached as Exhibit H.

       12.     On October 31, 2023, Defendants sent another email to Plaintiff asking them to

point to any specific questions of fact that would make Defendants’ proposed summary judgment

arguments frivolous. See October 31, 2023, Email attached as Exhibit I. Plaintiff has not

responded to this correspondence.




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        13.     Thus, Defendants request that the Court extend the expert schedule for the

remaining deadlines and modify the summary judgment schedule to allow for the completion of

expert discovery. The current schedule, as set in May, accounted for expert discovery being

completed before summary judgment briefing, including Daubert motions, was to begin.

Understanding this Court’s preference for Daubert and summary judgment motions to be filed

simultaneously, the City cannot prepare and file its motion for summary judgment without

completing its Daubert motions because Plaintiff’s Monell theories almost exclusively rely on his

experts’ testimony1. Indeed, in a related case, Rodriguez v. Guevara, Northern District of Illinois

Case No. 18-CV-7951, involving similar allegations against the City, and where the plaintiff is

represented by the same counsel here, the plaintiff has conceded that he will rely on his experts’

opinions in an effort to defeat the City’s motion for summary judgment. See Rodriguez Dkt. 219.

The City cannot prepare its Daubert motions until expert discovery is completed, including

Plaintiff’s anticipated rebuttal expert(s).

        14.     Furthermore, while Defendants’ final email inquiry remains unanswered, and

Plaintiff appears to have closed the door on further discussions, Defendants remain hopeful that

the parties will be able to resolve certain issues and either limit the scope of the summary judgment

motions or eliminate the need for them entirely. Regardless, the current schedule set by this court

needs to be adjusted to allow for the completion of expert discovery before summary judgment


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  As one example of this, Plaintiff’s responses to the City’s contention interrogatories regarding Monell
make it clear that his Monell claims are dependent on his experts. For instance, in response to
interrogatories requesting each theory of liability Plaintiff intends to pursue and the complete factual basis
and evidence upon which Plaintiff will rely to establish how such theory amounts to a “policy” pursuant to
Monell, Plaintiff objected that the parties had not yet completed expert discovery, and stated that the
requests were premature to the extent they called for “quintessentially expert opinions” that were
propounded before Plaintiff’s expert disclosures. Therefore, conceding that his Monell claims are reliant
on his experts’ opinions. Indeed, Plaintiff made this same objection for nearly all 25 contention
interrogatories tarted at the basis for his Monell claims. See, Plaintiff’s Response to Defendant City’s
Interrogatories, attached hereto as Exhibit J.


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briefing can begin.

        15.     On November 2, 2023, the undersigned counsel reached out to Plaintiff’s counsel

to inform Plaintiff’s counsel of Defendants’ intention to file a motion for extension of time and to

confirm what Plaintiff had previously conveyed to Defendants that he would object to any

extension of the summary judgment schedule. To Defendants’ surprise, Plaintiff’s counsel

responded to Defendants’ request they wished to confer on November 3. Defendants indicated

their willingness to confer and provided their availability and requested that Plaintiff respond to

Defendants’ previous email proposing expert deposition dates so that the parties could discuss the

length of the extension that would be necessary. See November 2, 2023, Email Exchange. As of

this filing, Plaintiff’s counsel has not responded to Defendants’ email or provided their position

on this extension.

        16.     Accordingly, Defendants seek to extend the expert discovery schedule as follows:

(1) Plaintiff to complete Defendants’ Expert Depositions by December 15, 2023; (2) Plaintiff to

disclose any rebuttal experts by January 5, 2024; (3) Defendants to complete any rebuttal expert

depositions by February 10, 20242. Assuming expert discovery is completed by February, the

Court can set a summary judgment schedule.

        WHEREFORE, Defendants respectfully request that this Court grant this Motion and

extend the expert discovery schedule, modify the summary judgment schedule, and for any other

relief as this Court deems just and reasonable.




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 Defendants propose this schedule under the assumption that Plaintiff agrees to the dates currently proposed
for their four expert depositions. In the event that the eight proposed dates do not work, this current
schedule is likely unworkable given other personal and professional obligations in the month of December.


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DATE: November 3, 2023                          Respectfully Submitted,

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Special Assistant Corporation Counsel for       Special Assistant Corporation Counsel for
Defendant City of Chicago                       Defendant Individual Officers

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